           Case
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 6                             UNITED STATES DISTRICT COURT

 7                                      DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                     ) 2:17-CR-021-JCM-(GWF)
                                                   )
 9                         Plaintiff,              )
                                                   )
10            v.                                   ) Preliminary Order of Forfeiture
                                                   )
11   ADAM MANUEL YOUNASSOGHLOU,                    )
     also known as “Adam Y”,                       )
12                                                 )
                           Defendant.              )
13

14           This Court finds that defendant Adam Manuel Younassoghlou, also known as “Adam Y”,

15 pled guilty to Counts One through Five of a Five-Count Third Superseding Criminal Indictment

16 charging him in Count One with Conspiracy to Commit Mail Fraud and Wire Fraud in

17 Connection with Telemarketing in violation of Title 18, United States Code, Sections 1341,

18 1343, and 1349; in Counts Two and Three with Mail Fraud in violation of Title 18, United States

19 Code, Section 1341; and in Counts Four and Five with Wire Fraud in violation of Title 18,
20 United States Code, Section 1343. Third Superseding Criminal Indictment, ECF No. 129;

21 Change of Plea, ECF No. 203; Plea Agreement, ECF No. 204.

22           This Court finds defendant Adam Manuel Younassoghlou, also known as “Adam Y”,

23 agreed to the imposition of the in personam criminal forfeiture money judgment of $250,000, not

24 to be held jointly and severally liable with any codefendants and the collected money judgment

25 amount between all codefendants is not to exceed $3,300,000 set forth in the Plea Agreement
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           Case
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 1 and the Forfeiture Allegations of the Third Superseding Criminal Indictment. Third Superseding

 2 Criminal Indictment, ECF No. 129; Change of Plea, ECF No. 203; Plea Agreement, ECF No.

 3 204.

 4           The in personam criminal forfeiture money judgment is (1) any property, real or personal,

 5 which constitutes or is derived from proceeds traceable to violations of Title 18, United States

 6 Code, Sections 1341 and 1343, specified unlawful activities as defined in Title 18, United States

 7 Code, Sections 1956(c)(7)(A) and 1961(1)(B), or Title 18, United States Code, Section 1349,

 8 conspiracy to commit such offenses and (2) any real or personal property constituting, derived
 9 from, or traceable to the gross proceeds obtained directly or indirectly as a result of violations of

10 Title 18, United States Code, Sections 1341 and 1343, or of Title 18, United States Code, Section

11 1349, conspiracy to commit such offenses, and is subject to forfeiture pursuant to Title 18,

12 United States Code, Section 981(a)(1)(C) with Title 28, United States Code, Section 2461(c);

13 Title 18, United States Code, Section 982(a)(8)(B); and Title 21, United States Code, Section

14 853(p).

15           This Court finds that Adam Manuel Younassoghlou, also known as “Adam Y”, shall pay

16 an in personam criminal forfeiture money judgment of $250,000 to the United States of America,

17 pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section

18 981(a)(1)(C) with Title 28, United States Code, Section 2461(c); Title 18, United States Code,

19 Section 982(a)(8)(B); and Title 21, United States Code, Section 853(p).
20           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

21 United States recover from Adam Manuel Younassoghlou, also known as “Adam Y”, an in

22 personam criminal forfeiture money judgment of $250,000.

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         Case
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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send copies

 2 of this Order to all counsel of record and three certified copies to the United States Attorney’s

 3 Office, Attention Asset Forfeiture Unit.

 4          DATED this ___ day
                  August   25, of ________________, 2017.
                               2017.

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 7                                                UNITED STATES DISTRICT JUDGE
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